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                                                                                     PENAP, APPEAL




                                 U.S. Bankruptcy Court
                       Southern District of New York (Manhattan)
                         Adversary Proceeding #: 17−01101−scc

Assigned to: Judge Shelley C. Chapman                         Date Filed: 07/28/17
Lead BK Case: 17−10466
Lead BK Title: Runway Liquidation Holdings, LLC, et al.
Lead BK Chapter: 11
Demand:
 Nature[s] of Suit: 11 Recovery of money/property − 542 turnover of property



Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
BCBG Max Azria Group, LLC                        represented by Robert J. Feinstein
2761 Fruitland Avenue                                           Pachulski Stang Ziehl & Jones LLP
Vernon, CA 90058                                                780 Third Avenue
Tax ID / EIN: 95−4255942                                        34th Floor
TERMINATED: 09/28/2017                                          New York, NY 10017−2024
                                                                (212) 561−7700
                                                                Fax : (212) 561−7777
                                                                Email: rfeinstein@pszyj.com
                                                                TERMINATED: 09/28/2017

                                                               Robert J. Feinstein
                                                               Pachulski Stang Ziehl & Jones LLP
                                                               780 Third Avenue
                                                               34th Floor
                                                               New York, NY 10017−2024
                                                               (212) 561−7700
                                                               Fax : (212) 561−7777
                                                               Email: rfeinstein@pszyj.com
                                                               LEAD ATTORNEY

                                                               Yates M. French
                                                               Kirkland & Ellis LLP
                                                               300 North LaSalle
                                                               Chicago, IL 60654
                                                               312−862−2000
                                                               Email: yates.french@kirkland.com
                                                               TERMINATED: 09/28/2017

                                                               Stephen C. Hackney
                                                               Kirkland & Ellis LLP
                                                               300 North LaSalle
                                                               Chicago, IL 60654
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                                                               Email: shackney@kirkland.com
                                                               TERMINATED: 09/28/2017

                                                               Joshua Sussberg
                                                               Kirkland & Ellis LLP
                                                               601 Lexington Avenue
                                                               New York, NY 10022
       Case 1:19-cv-02963-PGG Document 5 Filed 04/30/19 Page 2 of 5


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                                                          Fax : (212) 446−4900
                                                          Email: jsussberg@kirkland.com
                                                          TERMINATED: 09/28/2017
                                                          LEAD ATTORNEY


Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Runway Liquidation, LLC                     represented by Runway Liquidation, LLC
2761 Fruitland Avenue                                      PRO SE
Vernon, CA 90058
Tax ID / EIN: 95−4255942
TERMINATED: 09/28/2017


Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
Runway Liquidation, LLC                     represented by Steven William Golden
2761 Fruitland Avenue                                      Pachulski Stang Ziehl & Jones LLP
Vernon, CA 90058                                           780 Third Avenue
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                                                           New York, NY 10017
                                                           212−561−7700
                                                           Email: sgolden@pszjlaw.com

                                                          Joshua Sussberg
                                                          (See above for address)
                                                          LEAD ATTORNEY


Plaintiff
−−−−−−−−−−−−−−−−−−−−−−−
David MacGreevey, in his capacity as Plan   represented by Beth E. Levine
Administrator                                              Pachulski Stang Ziehl & Jones LLP
                                                           780 Third Avenue, 36th Floor
                                                           New York, NY 10017−2024
                                                           (212) 561−7700
                                                           Fax : (212) 561−7777
                                                           Email: blevine@pszyjw.com


V.

Defendant
−−−−−−−−−−−−−−−−−−−−−−−
NYAM LLC                                    represented by Katherine Good
                                                           Potter Anderson & Corroon LLP
                                                           1313 N. Market Street
                                                           6th Floor
                                                           Wilmington, DE 19801
                                                           302−984−6049
                                                           Email: kgood@potteranderson.com

                                                          Michael D. Hamersky
                                                          Griffin Hamersky LLP
                                                          420 Lexington Ave
                                                          Suite 400
                                                          New York, NY 10170
                                                          6469985578
                                                          Fax : 6469988284
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                                                           Email: mhamersky@grifflegal.com

Filing Date     #                                       Docket Text

                    1    Adversary case 17−01101. Complaint against NYAM LLC (Fee Amount $
                         350.). Nature(s) of Suit: (11 (Recovery of money/property − 542 turnover
                         of property)) Filed by Yates M. French, Joshua Sussberg, Stephen C.
                         Hackney on behalf of BCBG Max Azria Group, LLC. (Sussberg, Joshua)
07/28/2017               (Entered: 07/28/2017)

                    2    Summons with Notice of Pre−Trial Conference issued by Clerk's Office
                         with Pre−Trial Conference set for 9/28/2017 at 10:00 AM at Courtroom
                         623 (SCC), Answer due by 8/31/2017, (Ortiz, Carmen) (Entered:
08/01/2017               08/01/2017)

                    3    Answer to Complaint (Related Doc # 1) (related document(s)1) filed by
                         Katherine Good on behalf of NYAM LLC. (Attachments: # 1 Certificate
08/31/2017               of Service)(Good, Katherine) (Entered: 08/31/2017)

                    15   Transcript regarding Hearing Held on 5/23/2018 10:04 AM RE: Pre−Trial
                         Conference. Remote electronic access to the transcript is restricted until
                         8/22/2018. The transcript may be viewed at the Bankruptcy Court Clerks
                         Office. [Transcription Service Agency: Veritext Legal Solutions.]. (See
                         the Courts Website for contact information for the Transcription Service
                         Agency.). Notice of Intent to Request Redaction Deadline Due By
                         5/31/2018. Statement of Redaction Request Due By 6/14/2018. Redacted
                         Transcript Submission Due By 6/25/2018. Transcript access will be
05/24/2018               restricted through 8/22/2018. (Ortiz, Carmen) (Entered: 05/25/2018)

                    16   Statement / Notice of Plaintiff Name Change filed by Beth E. Levine on
                         behalf of David MacGreevey, in his capacity as Plan Administrator.
05/29/2018               (Levine, Beth) (Entered: 05/29/2018)

                    17   Initial Pretrial Order signed on 5/31/2018 (White, Greg) (Entered:
05/31/2018               05/31/2018)

                    18   Amended Initial Pre−Trial Order signed on 8/30/2018 (related
08/30/2018               document(s)17) (White, Greg) (Entered: 08/30/2018)

                    19   Letter Requesting a Pre−Motion Conference Pursuant to Bankruptcy
                         Local Rule 7056−1(a) Filed by Beth E. Levine on behalf of David
                         MacGreevey, in his capacity as Plan Administrator. (Levine, Beth)
09/18/2018               (Entered: 09/18/2018)

                    20   Letter Responding to Request for a Pre−Motion Conference (related
                         document(s)19) Filed by Michael D. Hamersky on behalf of NYAM LLC.
09/27/2018               (Hamersky, Michael) (Entered: 09/27/2018)

                    21   Letter / Supplement to Letter Requesting a Pre−Motion Conference and in
                         response to Letter Responding to Request for a Pre−Motion Conference
                         (related document(s)20, 19) Filed by Beth E. Levine on behalf of David
                         MacGreevey, in his capacity as Plan Administrator. (Levine, Beth)
11/05/2018               (Entered: 11/05/2018)

                    22   Memorandum Endorsed Order Granting Plaintiff's Request for a
                         Pre−Motion Conference at 2:00 p.m. on November 13, 2018 signed on
11/07/2018               11/7/2018 (related document(s)21) (White, Greg) (Entered: 11/07/2018)
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                   23   So Ordered Scheduling Stipulation Relating to Motions for Summary
                        Judgment signed on 11/19/2018; with hearing to be held on 1/17/2019 at
11/19/2018              02:00 PM at Courtroom 623 (SCC) (White, Greg) (Entered: 11/19/2018)

                   24   Motion for Summary Judgment / Notice of Hearing on Plaintiffs Motion
                        For Partial Summary Judgment filed by Beth E. Levine on behalf of
                        David MacGreevey, in his capacity as Plan Administrator. with hearing to
                        be held on 1/17/2019 at 02:00 PM at Courtroom 623 (SCC) Responses due
11/20/2018              by 12/18/2018, (Levine, Beth) (Entered: 11/20/2018)

                   25   Memorandum of Law in Support of Plaintiff's Motion For Partial
                        Summary Judgment (related document(s)24) filed by Beth E. Levine on
                        behalf of David MacGreevey, in his capacity as Plan Administrator.
11/20/2018              Objections due by 12/18/2018, (Levine, Beth) (Entered: 11/20/2018)

                   26   Statement of Undisputed Facts / Plaintiff's Statement Pursuant to Local
                        Rule 7056−1 of Material Facts as to Which There Are No Genuine Issues
                        to be Tried Filed by Beth E. Levine on behalf of David MacGreevey, in
                        his capacity as Plan Administrator. Objections due by 12/18/2018,
11/20/2018              (Levine, Beth) (Entered: 11/20/2018)

                   27   Declaration of Beth Levine in Support of Plaintiff's Motion For Partial
                        Summary Judgment (related document(s)25, 24, 26) filed by Beth E.
                        Levine on behalf of David MacGreevey, in his capacity as Plan
                        Administrator. (Attachments: # 1 Exhibit A − Letter Agreement # 2
                        Exhibit B − Factoring Agreement # 3 Exhibit C − License Agreement # 4
                        Exhibit D − Fleming Declaration # 5 Exhibit E − Fleming Deposition
                        Transcript # 6 Exhibit F − Response # 7 Exhibit G − NYAM Claim # 8
11/20/2018              Exhibit H − NYAM Assignments) (Levine, Beth) (Entered: 11/20/2018)

                   29   So Ordered Amended Scheduling Stipulation Relating to Motions for
                        Summary Judgment signed on 12/12/2018 (White, Greg) (Entered:
12/13/2018              12/13/2018)

                   30   Response to Motion Plaintiff's Motion for Partial Summary Judgment filed
                        by Michael D. Hamersky on behalf of NYAM LLC. with hearing to be
                        held on 3/5/2019 at 02:00 PM at Courtroom 623 (SCC) Reply due by
                        2/1/2019, (Attachments: # 1 Notice of Defendant NYAM, LLC's
                        Cross−Motion for Summary Judgment # 2 Declaration of Michael
                        Hamersky In Support of Defendant's Opposition to Plaintiff's Motion for
                        Partial Summary Judgment and In Support of It's Cross Motion for
                        Summary Judgment with Supporting Exhibits # 3 Defendant's Response to
                        Plaintiff's Statement Pursuant to Local Rule 7056−1 of Material Facts and
                        Statements Pursuant to Local Rule 7056−1 In Support of Defendant's
                        Cross−Motion for Summary Judgment) (Hamersky, Michael) (Entered:
12/28/2018              12/28/2018)

                   31   Memorandum of Law in Further Support of Plaintiff's Motion for Partial
                        Summary Judgment and in Opposition to Defendant's Cross−Motion for
                        Summary Judgment (related document(s)30, 25) filed by Beth E. Levine
                        on behalf of David MacGreevey, in his capacity as Plan Administrator.
01/18/2019              (Levine, Beth) (Entered: 01/18/2019)

                   32   Counterstatement of Undisputed Fact / Plaintiff's Response to Defendant's
                        Statement Pursuant to Local Rule 7056−1 of Material Facts as to Which
                        There are No Genuine Issues to be Tried in Support of its Cross−Motion
                        for Summary Judgment (related document(s)30) filed by Beth E. Levine
                        on behalf of David MacGreevey, in his capacity as Plan Administrator.
01/18/2019              (Levine, Beth) (Entered: 01/18/2019)
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                   33   Declaration of Beth Levine in Further Support of Plaintiff's Motion for
                        Partial Summary Judgment and in Opposition to Defendant's
                        Cross−Motion for Summary Judgment (related document(s)30, 25) filed
                        by Beth E. Levine on behalf of David MacGreevey, in his capacity as Plan
                        Administrator. (Attachments: # 1 Exhibit A Chart # 2 Exhibit B − First
                        Prior Fleming Declaration # 3 Exhibit C − Second Prior Fleming
                        Declaration # 4 Exhibit D − Fleming Deposition Transcript) (Levine,
01/18/2019              Beth) (Entered: 01/18/2019)

                   35   Reply to Motion Defendant's Reply Memorandum of Law in Further
                        Support of Defendant's Cross Motion For Summary Judgment filed by
                        Michael D. Hamersky on behalf of NYAM LLC. (Hamersky, Michael)
01/31/2019              (Entered: 01/31/2019)

                   40   Transcript regarding Hearing Held on 3/5/19 at 2:03 PM RE: Plaintiffs
                        Motion For Partial Summary Judgment. Remote electronic access to the
                        transcript is restricted until 6/4/2019. The transcript may be viewed at the
                        Bankruptcy Court Clerks Office. [Transcription Service Agency: Veritext
                        Legal Solutions.]. (See the Courts Website for contact information for the
                        Transcription Service Agency.) (RE: related document(s) 24). Notice of
                        Intent to Request Redaction Deadline Due By 3/13/2019. Statement of
                        Redaction Request Due By 3/27/2019. Redacted Transcript Submission
                        Due By 4/8/2019. Transcript access will be restricted through 6/4/2019.
03/06/2019              (Cales, Humberto) (Entered: 03/25/2019)

                   37   Order Granting Plaintiff's Motion For Partial Summary Judgment (Related
03/13/2019              Doc # 24) signed on 3/13/2019 (White, Greg) (Entered: 03/13/2019)

                   38   Judgment signed on 3/14/2019. Judgment is entered against NYAM in the
                        amount of $675,000.00 plus interest. JUDGMENT INDEX NUMBER
03/14/2019              19,0013 (related document(s)37) (Rouzeau, Anatin) (Entered: 03/14/2019)

                   39   Notice of Judgment (related document(s)38) (Rouzeau, Anatin). (Entered:
03/14/2019              03/14/2019)

                   41   Notice of Appeal (related document(s)37, 38) filed by Michael D.
                        Hamersky on behalf of NYAM LLC. (Hamersky, Michael) (Entered:
03/26/2019              03/26/2019)

                   43   Statement of Issues Appellant's Statement of Issues and Designation of
                        Record on Appeal Pursuant to Rule 8009 of the Federal Rules of
                        Bankruptcy Procedure (related document(s)41, 42) filed by Michael D.
                        Hamersky on behalf of NYAM LLC. (Hamersky, Michael) (Entered:
04/09/2019              04/09/2019)

                   46   Counter Designation (appellee) Appellees Counter−Designation Of
                        Additional Items To Be Included In Record On Appeal And Certificate
                        Regarding Transcripts Pursuant To Rule 8009 Of The Federal Rules Of
                        Bankruptcy Procedure And Local Bankruptcy Rule 8009−1 filed by Beth
                        E. Levine on behalf of David MacGreevey, in his capacity as Plan
04/22/2019              Administrator. (Levine, Beth) (Entered: 04/22/2019)
